                IN THE UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MISSOURI
                         SOUTHERN DIVISION

UNITED STATES of AMERICA,               )
         Plaintiff,                     )
                                        )
      v.                                )       Case No. 10-3029-02-CR-S-GAF
                                        )
CHARLES MICHAEL HALL                    )
        Defendant.                      )

    ORDER, PURSUANT TO F.R.Cr.P 17(a) and (b), FOR ISSUANCE OF
   POENAS TO USMCFP WITNESSES, FOR SERVICE OF PROCESS BY
  UNITED STATES MARSHAL, AND FOR PAYMENT OF WITNESS FEES
                       FOR WITNESSES

      Now on this 8th day of July, 2013 comes defendant Charles Michael Hall, by

attorney. Mr. Hall does request, pursuant to F.R.Cr.P. 17(a), that this Court issue its

subpoenas requiring that certain witnesses appear on behalf of the defense during

hearing upon his motion to suppress, which is scheduled to begin July 11, 2013 at 9:30

AM. Mr. Hall suggests, for the convenience of the witnesses, that they be summoned

at 11:00 AM to account for the facts that the government will begin presentation of

evidence and that government witnesses will likely take at least the time up to 11:00

AM. Mr. Hall also requests that, pursuant to F.R.Cr.P. 17(b), this Court direct that the

fees and expenses of these witnesses be paid by the government through the United

States Marshals Service, and that service of process upon these witnesses be done by

the Marshal Service.

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      In light of the premises set forth in Hall's Motion, the Court finds that

witnesses listed by Mr. Hall are material and necessary for the defense and that

Hall, because of indigency, is unable to defray the costs attendant to causing these

witnesses to attend and testify at the suppression hearing.

      WHEREFORE, IT IS HEREBY ORDERED that this Court=s subpoena issue to

each of the following persons, at the United States Medical Center for Federal

Prisoners, Springfield, Missouri, directing that he/she appear on July 13, 2013 at 11:00

AM, or thereafter as directed by Court or counsel, to wit

   A. D. Rice, S.O.S

   B. Kellie Aldridge, LPN

   C. K.A. Hill, RN

   D. C. Boyd, LPN

   E. Danielle Cunningham, LPN

   F. K. Allee, LPN

   G. T. Massengill

   H. S. Sullivan, RN

   I. Timothy Kastning, S.O.

   J. Mark Miller, Counselor

   K. T. Anderson, S.O.S.


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   L. Christopher Mullen, C.O.

   M. Ruby Gideon, RN

   N. W. Steinmeier, S.O.

   O. W. Henry, S.O.S.

   P. Henry Long, S.O.S.

   Q. Thomas Elliott, Counselor

   R. S. Albers, LPN

   S. S. Nolan, S.O.S.

   T. Bob Logsdon, S.O.S.

   U. Lt. M. McIntire

   V. Michael Cupp

      IT IS FURTHER ORDERED that the government, through the United States

Marshal for the Western District of Missouri, pay the costs, including all necessary

travel expenses, attendant to securing the presence of said witness.

      IT IS FURTHER ORDERED that the United States Marshal for the Western

District of Missouri effect service of process upon the aforementioned witnesses.




                                                 /s/ John T. Maughmer
                                                   John T. Maughmer
                                                United States Magistrate Judge

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